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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


MARK ROBERTS, on behalf of himself and              Civil Action No.
others similarly situated,
                                                    CLASS ACTION COMPLAINT
                        Plaintiff,

       v.                                           JURY TRIAL DEMANDED

JUDGMENT ACQUISITIONS UNLIMITED
and CHAMPION FUNDING INC.,

                        Defendant.
                              ______________________________

                                      Nature of the Action

       1.         This is a class action brought under the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq., for the benefit of certain Massachusetts consumers who

have been the subject of debt collection efforts by Judgment Acquisitions Unlimited (“JAU”)

and Champion Funding Inc. (“Champion”) (collectively, “Defendants”).

       2.         By way of background, Congress enacted the FDCPA in 1977 to “eliminate

abusive debt collection practices by debt collectors,” 15 U.S.C. § 1692(e), and in response to

“abundant evidence of the use of abusive, deceptive, and unfair debt collection practices by

many debt collectors,” which Congress found to have contributed “to the number of personal

bankruptcies, to marital instability, to the loss of jobs, and to invasions of individual privacy.”

Id., § 1692(a).

       3.         The Consumer Financial Protection Bureau (“CFPB”)—the federal agency tasked

with enforcing the FDCPA—explained, “[h]armful debt collection practices remain a significant
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concern today. In fact, the CFPB receives more consumer complaints about debt collection

practices than about any other issue.”1

        4.     And over one-third of the debt collection complaints the CFPB receives involve

debt collectors’ attempts to collect debts that consumers did not owe.2

        5.     To address this serious problem in the debt collection industry, the FDCPA

requires debt collectors to send consumers “validation notices” at the outset of the relationship,

which must contain certain information about consumers’ alleged debts and their rights with

respect to those debts. 15 U.S.C. § 1692g(a).

        6.     A debt collector must send this notice “[w]ithin five days after the initial

communication with a consumer in connection with the collection of any debt,” unless the

required information was “contained in the initial communication or the consumer has paid the

debt.” Id.

        7.     As noted by the CFPB and the Federal Trade Commission, “this validation

requirement was a ‘significant feature’ of the law that aimed to ‘eliminate the recurring problem

of debt collectors dunning the wrong person or attempting to collect debts which the consumer

has already paid.’” Hernandez, No. 14-15672, at 5 (quoting S. Rep. No. 95-382, at 4 (1977)).

        8.     Part and parcel to the validation notice is a 30-day window for the consumer to

dispute his alleged debt, seek verification of the debt, or seek creditor information regarding the

debt. 15 U.S.C. § 1692g(a).


1
        See Brief for the CFPB as Amicus Curiae, Dkt. No. 14, p. 10, Hernandez v. Williams,
Zinman,     & Parham,         P.C.,  No.    14-15672     (9th   Cir.    Aug.    20,  2014),
http://www.ftc.gov/system/files/documents/amicus_briefs/hernandez-v.williams-zinman-
parham-p.c./140821briefhernandez1.pdf.
2
        See Consumer Financial Protection Bureau, Fair Debt Collection Practices Act—CFPB
Annual Report 2018 at 15 (2018), https://www.consumerfinance.gov/data-research/research-
reports/fair-debt-collection-practices-act-annual-report-2018/.


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       9.      Pertinent here, “[a]ny collection activities and communication during th[is] 30-

day period may not overshadow or be inconsistent with the disclosure of the consumer’s right to

dispute the debt or request the name and address of the original creditor.” 15 U.S.C. § 1692g(b).

       10.     This case centers on the overshadowing and deceptive language Defendants use in

initial written communications to Massachusetts consumers.

                                              Parties

       11.     Mark Roberts (“Plaintiff”) is a natural person who at all relevant times resided in

Suffolk County, Massachusetts.

       12.     Plaintiff is obligated, or allegedly obligated, to pay a debt owed or due, or

asserted to be owed or due, a creditor other than Defendant.

       13.     Plaintiff’s obligation, or alleged obligation, owed or due, or asserted to be owed

or due, arises from a transaction in which the money, property, insurance, or services that are the

subject of the transaction were incurred primarily for personal, family, or household purposes—

namely, a judgment arising from a loan used to purchase a vehicle for personal use (the “Debt”).

       14.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       15.     JAU is a company with its principal office in Norfolk County, Massachusetts.

       16.     JAU is a “licensed and bonded collection agency founded in 2001 that collects

commercial, retail, and judgment debts.”3

       17.     JAU uses instrumentalities of interstate commerce or the mails in a business the

principal purpose of which is the collection of any debts, and/or to regularly collect or attempt to

collect, directly or indirectly, debts owed or due, or asserted to be owed or due, another.




3
       See https://judgmentacquisitions.com/about/ (last accessed August 8, 2019).



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        18.     JAU is an entity that at all relevant times was engaged, by use of the mails and

telephone, in the business of attempting to collect a “debt” from Plaintiff, as defined by 15

U.S.C. § 1692a(5).

        19.     Champion is a corporation with its principal office in Norfolk County,

Massachusetts.

        20.     According to its Articles of Incorporation and Annual Report, Champion is a

purchaser of charged-off debt portfolios.

        21.     Champion uses instrumentalities of interstate commerce or the mails in a business

the principal purpose of which is the collection of any debts

        22.     Champion acquired the Debt and placed it with JAU for collection.

        23.     At all relevant times, JAU acted on behalf of, and as an agent of, Champion.

        24.     At the time Defendants attempted to collect the Debt from Plaintiff, the Debt was

in default.

        25.     Defendants treated the Debt as if it were in default from the time that Defendants

acquired it for collection.

        26.     Defendants are each a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).

                                      Jurisdiction and Venue

        27.     This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d) and 28 U.S.C. §

1331.

        28.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), as the acts and

transactions giving rise to Plaintiff’s action occurred in this district, and as Defendants transact

business and maintain their principal offices in this district.




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                                        Factual Allegations

       29.     On or about June 19, 2019, JAU, on behalf of Champion, sent a written

communication to Plaintiff in connection with the collection of the Debt.

       30.     A true and correct copy of the June 19, 2019 communication to Plaintiff is

attached as Exhibit A.

       31.     This June 19, 2019 communication to Plaintiff was the first communication

Plaintiff received from Defendants about the Debt.

       32.     Plaintiff did not receive any other communications from Defendants within five

days of the June 19, 2019 communication.

       33.     The June 19, 2019 letter to Plaintiff opened with the following:

       Your current unpaid judgment has been purchased by Champion Funding Inc.
       and placed with Judgment Acquisitions Unlimited for immediate collection
       activity.

Ex. A at 1.

       34.     The letter later advised Plaintiff:

       We understand that this account is several years old, changed hands twice, and
       been dormant for a short time, but you likely have known that this debt is not
       fully paid. Massachusetts judgments are valid for 20 years with 12%. If you have
       made some/any/all payments toward the debt or believe this case settled or
       dismissed, please forward any documentation you have so we can fully credit the
       account proper credits and/or dismiss the case at the court once and for all.
       Otherwise we will assume the debt to be valid and you may be subject to all fees
       and costs associated in the enforcement of the judgment and forfeit your chance to
       negotiate.

Id.

       35.     The reverse side of the June 19, 2019 letter contained the following disclosure:

       Unless you notify this office within thirty (30) days after the receipt of this notice
       that you dispute the validity of this debt, or any portion thereof, this office will
       assume the debt is valid. Judgment Acquisitions Unlimited also requests that you
       send a letter stating the nature of your dispute with corresponding documents to
       support your claim. If you notify this office in writing within thirty (30) days


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       from receiving this notice, Judgment Acquisitions Unlimited will obtain
       verification of the debt or a copy of such judgment verification. Judgment
       Acquisitions Unlimited will provide you with the name and address of the original
       creditor, if different from the current creditor, if requested by you within thirty
       (30) days of this notice. You have the right to make a written or oral request that
       telephone calls regarding your debt not be made to you at your place of
       employment. Any such oral request will be valid for ten (10) days unless you
       provide written confirmation of the request post marked or delivered within seven
       (7) days of such request. You may terminate this request by writing to the
       collection agency.

Id. at 2 (emphasis added).

                                    Class Action Allegations

       36.     Plaintiff brings this action as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and (b)(3) on behalf of a class and subclass consisting of:

                                            The Class

       All persons (a) with a Massachusetts address, (b) to whom Judgment Acquisitions
       Unlimited mailed an initial debt collection communication not returned as
       undeliverable, (c) in connection with the collection of a consumer debt, (d) in the
       one year preceding the date of this complaint, (e) which stated (i) “[i]f you have
       made some/any/all payments toward the debt or believe this case settled or
       dismissed, please forward any documentation you have so we can fully credit the
       account proper credits and/or dismiss the case at the court once and for all.
       Otherwise we will assume the debt to be valid and you may be subject to all fees
       and costs associated in the enforcement of the judgment and forfeit your chance to
       negotiate,” or (ii) “Judgment Acquisitions Unlimited also requests that you send a
       letter stating the nature of your dispute with corresponding documents to support
       your claim.”

                                          The Subclass

       All persons (a) with a Massachusetts address, (b) to whom Judgment Acquisitions
       Unlimited, on behalf of Champion Funding Inc., mailed an initial debt collection
       communication not returned as undeliverable, (c) in connection with the
       collection of a consumer debt, (d) in the one year preceding the date of this
       complaint, (e) which stated (i) “[i]f you have made some/any/all payments toward
       the debt or believe this case settled or dismissed, please forward any
       documentation you have so we can fully credit the account proper credits and/or
       dismiss the case at the court once and for all. Otherwise we will assume the debt
       to be valid and you may be subject to all fees and costs associated in the
       enforcement of the judgment and forfeit your chance to negotiate,” or (ii)



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        “Judgment Acquisitions Unlimited also requests that you send a letter stating the
        nature of your dispute with corresponding documents to support your claim.”

        37.     Excluded from the class and subclass are Defendants, their respective officers and

directors, members of their immediate families and their legal representatives, heirs, successors,

or assigns, and any entity in which either defendant had or has controlling interests.

        38.     The proposed class and subclass satisfy Rule 23(a)(1) because, upon information

and belief, they are so numerous that joinder of all members is impracticable.

        39.     The exact number of class and subclass members is unknown to Plaintiff at this

time and can only be determined through appropriate discovery.

        40.     The proposed class and subclass are ascertainable because they are defined by

reference to objective criteria.

        41.     In addition, upon information and belief, the names and addresses of all members

of the proposed class and subclass can be identified in business records maintained by

Defendants.

        42.     The proposed class and subclass satisfy Rules 23(a)(2) and (3) because Plaintiff’s

claims are typical of the claims of the members of the class and subclass.

        43.     To be sure, Plaintiff’s claims and those of the members of the class and subclass

originate from the same standardized initial debt collection letter utilized by JAU, and Plaintiff

possesses the same interests and has suffered the same injuries as each member of the proposed

class and subclass.

        44.     Plaintiff satisfies Rule 23(a)(4) because he will fairly and adequately protect the

interests of the members of the class and subclass and has retained counsel experienced and

competent in class action litigation.




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       45.       Plaintiff has no interests that are contrary to or in conflict with the members of the

class and subclass that he seeks to represent.

       46.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy, since, upon information and belief, joinder of all members is

impracticable.

       47.       Furthermore, as the damages suffered by individual members of the class and

subclass may be relatively small, the expense and burden of individual litigation make it

impracticable for the members of the class to individually redress the wrongs done to them.

       48.       There should be no difficulty in the management of this action as a class action.

       49.       Issues of law and fact common to the members of the class and subclass

predominate over any questions that may affect only individual members, in that Defendants

have acted on grounds generally applicable to the class and subclass.

       50.       Among the issues of law and fact common to the class and subclass are:

             a. Defendants’ violations of the FDCPA as alleged herein;

             b. whether Defendants are each a debt collector as defined by the FDCPA;

             c. whether Defendants’ demand for information supporting a debt dispute violates

                 15 U.S.C. § 1692g(b);

             d. the availability of statutory penalties; and

             e. the availability of attorneys’ fees and costs.

     Count I: Violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692g(b)

       51.       Plaintiff repeats and re-alleges the factual allegations contained in paragraphs 1

through 50 above.

       52.       The FDCPA at 15 U.S.C. § 1692g(b) provides:




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       (b) If the consumer notifies the debt collector in writing within the thirty-day
       period described in subsection (a) that the debt, or any portion thereof, is disputed,
       or that the consumer requests the name and address of the original creditor, the
       debt collector shall cease collection of the debt, or any disputed portion thereof,
       until the debt collector obtains verification of the debt or any copy of a judgment,
       or the name and address of the original creditor, and a copy of such verification or
       judgment, or name and address of the original creditor, is mailed to the consumer
       by the debt collector. Collection activities and communications that do not
       otherwise violate this subchapter may continue during the 30-day period referred
       to in subsection (a) unless the consumer has notified the debt collector in writing
       that the debt, or any portion of the debt, is disputed or that the consumer requests
       the name and address of the original creditor. Any collection activities and
       communication during the 30-day period may not overshadow or be inconsistent
       with the disclosure of the consumer’s right to dispute the debt or request the name
       and address of the original creditor.

(emphasis added).

       53.     The June 19, 2019 letter advised Plaintiff:

       If you have made some/any/all payments toward the debt or believe this case
       settled or dismissed, please forward any documentation you have so we can fully
       credit the account proper credits and/or dismiss the case at the court once and for
       all. Otherwise we will assume the debt to be valid and you may be subject to all
       fees and costs associated in the enforcement of the judgment and forfeit your
       chance to negotiate.

See Ex. A.

       54.     The reverse side of the June 19, 2019 letter contained the following disclosure:

       Unless you notify this office within thirty (30) days after the receipt of this notice
       that you dispute the validity of this debt, or any portion thereof, this office will
       assume the debt is valid. Judgment Acquisitions Unlimited also requests that you
       send a letter stating the nature of your dispute with corresponding documents to
       support your claim. If you notify this office in writing within thirty (30) days
       from receiving this notice, Judgment Acquisitions Unlimited will obtain
       verification of the debt or a copy of such judgment verification.

Id. (emphasis added).

       55.     The manner in which JAU conveyed the validation notice required by 15 U.S.C. §

1692g(a) in the June 19, 2019 letter was ineffective and was overshadowed and contradicted by

other language in the letter.



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       56.      In the alternative, JAU, through the June 19, 2019 letter, failed to explain an

apparent, though not actual, contradiction that its letter creates regarding statutorily mandated

disclosures that JAU was required to provide to Plaintiff.

       57.     Specifically, the requirement in the June 19, 2019 letter that Plaintiff “send a

letter stating the nature of your dispute with corresponding documents to support your claim”

implied to the least sophisticated consumer that any dispute of the Debt would need to be

supported by information or documentation, that he needed to provide a valid reason to JAU to

dispute the Debt and invoke his rights under the FDCPA, and that any such dispute must be

made in writing. See, e.g., McCurdy v. Prof’l Credit Serv., No. 6:15-CV-01498-AA, 2015 WL

6744269, at *3 (D. Or. Oct. 30, 2015) (“The least sophisticated consumer could read the

additional language to require a consumer intending to dispute a debt to do so in writing and to

submit justification for the dispute. In other words, the least sophisticated consumer would be

encouraged to waive her right to challenge the validity of the debt by a phone call or without

providing justification for contesting the debt.”).

       58.     Moreover, the requirement that Plaintiff “forward any documentation you have so

we can fully credit the account proper credits and/or dismiss the case at the court once and for

all” otherwise JAU would “assume the debt to be valid and you may be subject to all fees and

costs associated in the enforcement of the judgment and forfeit your chance to negotiate” implied

to the least sophisticated consumer that the only way he could prevent JAU from treating the

debt as valid would be to forward to JAU supporting written documentation.

       59.     But the only action a consumer must take to dispute a debt pursuant to 15 U.S.C.

§ 1692a(3)—to rebut the presumption of validity of the debt—is to call the debt collector within

the thirty-day validation period and state that he disputes the debt.




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       60.     Indeed, in disputing a debt, the consumer need not (1) specify the nature of the

dispute, Frey v. Satter, Breyer & Spires, No. 98 C 3957, 1999 WL 301650, at *5 (N.D. Ill. May

3, 1999); (2) provide the debt collector a valid reason for the dispute, Mendez v. M.R.S. Assocs.,

No. 03 C 6753, 2005 WL 1564977, at *4 (N.D. Ill. June 27, 2005); or (3) provide any

documentation to support the dispute. Forsberg v. Fidelity Nat’l Credit Serv., Ltd., No.

03CV2193–DMS(AJB), 2004 WL3510771, at *4 (S.D. Cal. Feb. 26, 2004).

       61.     The June 19, 2019 letter therefore overshadowed and was inconsistent with the

validation notice mandated by the FDCPA, in violation of 15 U.S.C. § 1692g(b).

       62.     Champion, as a debt collector, is vicariously liable for the illegal acts undertaken

by JAU on its behalf.

       63.     The harm suffered by Plaintiff is particularized in that the violative initial debt

collection letter at issue was sent to him personally and regarded his personal alleged debt.

       64.     And the content of the June 19, 2019 communication created a material risk of

harm to the concrete interest Congress was trying to protect in enacting the FDCPA.

       65.     Specifically, where a consumer is told that he must provide documentation to

support any dispute, he is likely to believe that any dispute must be in writing—as opposed to by

telephone—and that disputing the debt would be pointless unless he possessed documentation to

support the dispute.

       66.     But a consumer neither need provide any documentation to dispute a debt, nor a

valid reason for such a dispute.

       67.     Instead, a simple phone call to the debt collector stating the debt is disputed is

enough to trigger certain protections for the consumer under the FDCPA. See, e.g., Camacho v.

Bridgeport Fin., Inc., 430 F.3d 1078, 1082 (9th Cir. 2005) (“Oral dispute of a debt precludes the




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debt collector from communicating the debtor’s credit information to others without including

the fact that the debt is in dispute. Additionally, if a consumer owes multiple debts and makes a

payment, the debt collector is prohibited from applying such payment to a debt which is in

dispute.”).

       68.        And a simple written dispute—without the need to provide any supporting

documentation—is enough to trigger additional protections for the consumer. See, e.g., Sambor

v. Omnia Credit Servs., Inc., 183 F. Supp. 2d 1234, 1240 (D. Haw. 2001) (holding that a debt

collector violated the FDCPA by confusing debtor into thinking he had to dispute the alleged

debt by providing supporting documentation).

       69.        Here, Plaintiff was unaware that he could dispute the debt by telephone and need

not provide any documentation to do so, and the June 19, 2019 letter led him to believe that he

could only dispute the debt in writing by sending valid documentation.

       70.        The risk of harm is compounded by the fact that, as the June 19, 2019 letter

indicates, the Debt is old, and has changed hands several times, making it less likely that

Plaintiff, or any other consumer, would possess “corresponding documents to support” a dispute.

See Ex. A at 2.

       71.        In addition, Defendants’ actions invaded a specific private right created by

Congress, and the invasion of said right creates a risk of real harm.

       Count II: Violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692e

       72.        Plaintiff repeats and re-alleges the factual allegations contained in paragraphs 1

through 50 above.




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         73.      The FDCPA at 15 U.S.C. § 1692e provides that a “debt collector may not use any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

         74.      The June 19, 2019 letter advised Plaintiff:

         If you have made some/any/all payments toward the debt or believe this case
         settled or dismissed, please forward any documentation you have so we can fully
         credit the account proper credits and/or dismiss the case at the court once and for
         all. Otherwise we will assume the debt to be valid and you may be subject to all
         fees and costs associated in the enforcement of the judgment and forfeit your
         chance to negotiate.

See Ex. A at 1.

         75.      The reverse side of the June 19, 2019 letter contained the following disclosure

purporting to comply with the FDCPA’s validation notice requirement:

         Unless you notify this office within thirty (30) days after the receipt of this notice
         that you dispute the validity of this debt, or any portion thereof, this office will
         assume the debt is valid. Judgment Acquisitions Unlimited also requests that you
         send a letter stating the nature of your dispute with corresponding documents to
         support your claim. If you notify this office in writing within thirty (30) days
         from receiving this notice, Judgment Acquisitions Unlimited will obtain
         verification of the debt or a copy of such judgment verification.

Id. at 2 (emphasis added).

         76.      The requirement in the June 19, 2019 letter that Plaintiff “send a letter stating the

nature of your dispute with corresponding documents to support your claim” implied to the least

sophisticated consumer that any dispute of the Debt would need to be supported by information

or documentation, that he needed to provide a valid reason to JAU to dispute the Debt and

invoke his rights under the FDCPA, and that any such dispute must be made in writing.

         77.      Moreover, the requirement that Plaintiff “forward any documentation you have so

we can fully credit the account proper credits and/or dismiss the case at the court once and for

all” otherwise JAU would “assume the debt to be valid and you may be subject to all fees and



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costs associated in the enforcement of the judgment and forfeit your chance to negotiate” implied

to the least sophisticated consumer that the only way he could prevent JAU from treating the

debt as valid would be to forward to JAU supporting documentation.

       78.     But the only action a consumer must take to dispute a debt pursuant to 15 U.S.C.

§ 1692a(3)—to rebut the presumption of validity of the debt—is to call the debt collector within

the thirty-day validation period and state that he disputes the debt.

       79.     Indeed, in disputing a debt, the consumer need not (1) specify the nature of the

dispute, (2) provide the debt collector a valid reason for the dispute, or (3) provide any

documentation to support the dispute.

       80.     The offending language in the June 19, 2019 letter to Plaintiff therefore

constitutes a deceptive and misleading representation in connection with the collection of the

Debt, in violation of 15 U.S.C. § 1692e.

       81.     Champion, as a debt collector, is vicariously liable for the illegal acts undertaken

by JAU on its behalf.

       82.     The harm suffered by Plaintiff is particularized in that the violative initial debt

collection letter at issue was sent to him personally and regarded his personal alleged debt.

       83.     And the content of the June 19, 2019 communication created a material risk of

harm to the concrete interest Congress was trying to protect in enacting the FDCPA.

       84.      Specifically, where a consumer is told that he must provide documentation to

support any dispute, he is likely to believe that any dispute must be in writing—as opposed to by

telephone—and that disputing the debt would be pointless unless he possessed documentation to

support the dispute.




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       85.       But a consumer neither need provide any documentation to dispute a debt, nor a

valid reason for such a dispute.

       86.      Instead, a simple phone call to the debt collector stating the debt is disputed is

enough to trigger certain consumer protections under the FDCPA.

       87.      And a simple written dispute—without the need to provide any supporting

documentation—is enough to trigger additional protections for the consumer.

       88.      Here, Plaintiff was unaware that he could dispute the debt by telephone and need

not provide any documentation to do so, and the June 19, 2019 letter led him to believe that he

could only dispute the debt in writing by sending valid documentation.

       89.      The risk of harm is compounded by the fact that, as Defendant’s letter indicates,

the Debt is old, and has changed hands several times, making it less likely that Plaintiff, or any

other consumer, would possess “corresponding documents to support” a dispute. See Ex. A at 2.

       90.       In addition, Defendants’ actions invaded a specific private right created by

Congress, and the invasion of said right creates a risk of real harm.

       91.      Finally, Defendants’ action created a risk of harm to Plaintiff’s concrete interest

established by the FDCPA to be free of any deceptive, or misleading representation or means in

connection with the collection of any debt.

       WHEREFORE, Plaintiff respectfully requests relief and judgment as follows:

             A. Determining that this action is a proper class action under Rule 23 of the Federal

                Rules of Civil Procedure;

             B. Adjudging and declaring that Defendants violated 15 U.S.C. § 1692g(b) and 15

                U.S.C. § 1692e;




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          C. Awarding Plaintiff and members of the class and subclass statutory damages

             pursuant to 15 U.S.C. § 1692k;

          D. Awarding members of the class and subclass actual damages incurred, as

             applicable, pursuant to 15 U.S.C. § 1692k;

          E. Enjoining Defendants from future violations of 15 U.S.C. § 1692g(b) and 15

             U.S.C. § 1692e with respect to Plaintiff and the class and subclass;

          F. Awarding Plaintiff and members of the class and subclass their reasonable costs

             and attorneys’ fees incurred in this action, including expert fees, pursuant to 15

             U.S.C. § 1692k and Rule 23 of the Federal Rules of Civil Procedure;

          G. Awarding Plaintiff and the members of the class and subclass any pre-judgment

             and post-judgment interest as may be allowed under the law; and

          H. Awarding other and further relief as the Court may deem just and proper.

                                         Trial by Jury

      Plaintiff is entitled to and hereby demands a trial by jury.



Dated August 8, 2019                                 /s/ Kevin V. K. Crick
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                                                     class

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